 Case 23-12408-amc           Doc 21-4 Filed 10/24/23 Entered 10/24/23 16:01:47                     Desc
                               Certificate of Service Page 1 of 1



                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Gilbert Wright                                              CHAPTER 13
                                Debtor                             BK. NO. 23-12408 AMC
PENNYMAC LOAN SERVICES, LLC
                    Movant
          vs.

Gilbert Wright
Scott F. Waterman, Trustee
                                Respondents


                                   CERTIFICATION OF SERVICE

        I, the undersigned, hereby certify that the foregoing Objection to Confirmation was served by first

class mail, postage pre-paid, upon the parties listed below on October 24, 2023.


Scott F. Waterman, Trustee
2901 St. Lawrence Ave. (VIA ECF)
Suite 100
Reading, PA 19606

Paul H. Young, Esq.
3554 Hulmeville Road (VIA ECF)
Suite 102
Bensalem, PA 19020

Gilbert Wright
3006 Lynwood Court
Pennsburg, PA 18073




Date: October 24, 2023

                                                 By: /s/Denise Carlon
                                                      Denise Carlon, Esquire
                                                      KML Law Group, P.C.
                                                      701 Market Street, Suite 5000
                                                      Philadelphia, PA 19106
                                                      215-627-1322
                                                      Attorney for Movant/Applicant
